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                             UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION
                          _____________________________________________

   In Re:
                                                                 Case #: 14-04375
            Andrea J. Averill,                                   Chapter 13 Proceeding
                                                                 Filed: June 26, 2014
                         Debtor.
                                                                 Hon. John T. Gregg
                                        /

                     ORDER APPROVING SECOND POST-CONFIRMATION
                                   STIPULATION AMENDING PLAN

   The Debtor, by and through counsel, and Trustee having stipulated to modify the Debtor’s
   Chapter 13 plan, Debtor’s counsel having prepared Second Post-Confirmation Stipulation
   Amending Plan (doc 66),

   IT IS ORDERED that the Debtor’s Second Post-Confirmation Stipulation Amending Plan is
   approved. General unsecured creditors will be paid interest at the rate of 1% (one percent).

   In accordance with Federal Bankruptcy Rule 3015(g), the creditors will not receive notification
   of Order Amending Chapter 13 Plan because the plan modification increases the amount paid to
   unsecured base and does not adversely affect any creditor.

   Prepared by:
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                                             END OF ORDER




Signed: April 20, 2018
